                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
              Plaintiff,                       )
                                               )
 v.                                            )      No.:   3:09-CR-66-TAV-CCS-2
                                               )
 WALTER ENGLE,                                 )
                                               )
              Defendant.                       )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence

 reduction [Doc. 112]. In the defendant’s motion, the defendant requests that the Court

 resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

 782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

 government has responded [Doc. 114]. The government asserts that the defendant is not

 eligible for relief because he was sentenced to the statutory mandatory minimum

 sentence.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term



Case 3:09-cr-00066-TAV-CCS       Document 115       Filed 03/04/16   Page 1 of 4    PageID
                                       #: 891
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the

 defendant was originally sentenced, the Court “shall leave all other guideline application

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Case 3:09-cr-00066-TAV-CCS       Document 115       Filed 03/04/16    Page 2 of 4       PageID
                                       #: 892
 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

 also consider the § 3553 factors and the danger to the public created by any reduction in a

 defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

 post-sentencing conduct. Id.

 II.    Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.               Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

        Even if Amendment 782 were to lower the defendant’s offense level under

 Chapter Two, Chapter Five provides that a defendant’s sentence may not be “less than

 any statutorily required minimum sentence.” U.S. Sentencing Guidelines Manual §

 5G1.1(c). Pursuant to U.S. Sentencing Guidelines Manual § 5G1.1(b), where a statutory
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          Section 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B). That is not the case
 here.
                                               3


Case 3:09-cr-00066-TAV-CCS          Document 115       Filed 03/04/16     Page 3 of 4     PageID
                                          #: 893
 mandatory minimum sentence is higher than the maximum under the Guidelines, the

 statutory minimum becomes the guidelines range. That was the case here.

        Accordingly, the Court lacks jurisdiction under § 3582(c) to modify the

 defendant’s sentence. See, e.g., United States v. Coats, 530 F. App’x 553, 555 (6th Cir.

 2013) (stating that the defendant was ineligible for a sentence reduction because the

 defendant’s sentence “was not ‘based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission’” because “the Sentencing Commission’s

 amendments to the . . . guidelines have no effect on statutory minimum sentences

 mandated by Congress”); United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009)

 (finding that the district court properly concluded that because the defendant was subject

 to a statutory mandatory minimum, the subsequent sentencing amendment “would not

 have lowered the applicable guidelines range”); see also United States v. McPherson, 629

 F.3d 609, 611–12 (6th Cir. 2011) (same).

 III.   Conclusion

        For the reasons stated herein, the defendant’s motion [Doc. 112] is DENIED.

        IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                             4


Case 3:09-cr-00066-TAV-CCS       Document 115       Filed 03/04/16   Page 4 of 4    PageID
                                       #: 894
